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                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

DAVID T. HARMON,

                   Plaintiff,

       v.                                            Case No. 4:21-cv-01407

DIVERSIFIED ADJUSTMENT SERVICE,
INC.,

                  Defendant.


                                 NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE that DAVID T. HARMON (“Plaintiff”), hereby notifies the

Court that the Plaintiff and Defendant, DIVERSIFIED ADJUSTMENT SERVICE, INC., have

settled all claims between them in this matter and are in the process of completing the final

closing documents and filing the dismissal. The Parties anticipate this process to take no more

than 60 days and request that the Court retain jurisdiction for any matters related to completing

and/or enforcing the settlement. The Parties propose to file a voluntary dismissal with prejudice

within 60 days of submission of this Notice of Settlement and pray the Court to stay all

proceedings until that time.

Respectfully submitted this 13th day of July 2021.

                                                           Respectfully submitted,

                                                           /s/ Nathan C. Volheim
                                                           Nathan C. Volheim (#3098183)
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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.


                                                              /s/ Nathan C. Volheim
                                                              Nathan C. Volheim




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